8:02-cr-00164-LSC-TDT        Doc # 450      Filed: 10/24/05    Page 1 of 1 - Page ID # 1418




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                  8:02CR164
       vs.                                     )
                                               )                   ORDER
YAMIL RIVERA-KADER,                            )
                                               )
                     Defendant.                )


       Defendant has filed a waiver of speedy trial. For good cause shown,

      IT IS ORDERED that defendant's Motion to Continue Trial (#447) is granted, as
follows:

       1. Trial of this matter is continued from November 8, 2005 to January 10, 2006
before Judge Laurie Smith Camp and a jury.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between November 8, 2005 and
January 10, 2006, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reasons stated in the motion, and considering the
diligence of counsel. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

        3. Counsel for the United States shall confer with defense counsel and electronically
file a status report no later than January 3, 2006 advising the court of the anticipated length
of trial.

       DATED October 24, 2005.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
